                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA,                       )
                                                )   Case No: 1:09-CR-181
        v.                                      )
                                                )   Chief Judge Curtis L. Collier
GLENN SKILES                                    )
                                                )

                                       MEMORANDUM

        Before the Court is Defendant Glenn Skiles’ (“Defendant”) motion to suppress the fruits of

the search of Defendant’s residence and request for a Franks hearing (Court File No. 622). The

Court referred the motion and request to United States Magistrate Judge William B. Mitchell Carter

pursuant to 28 U.S.C. § 636(b)(1) (Court File No. 627). Judge Carter issued a Report and

Recommendation (“R&R”) on the motion (Court File No. 675). Defendant filed timely objections

(Court File No. 692) to the R&R. For the following reasons, the Court will ACCEPT and ADOPT

the R&R (Court File No. 675). Defendant’s motion to suppress and Defendant’s request for a

Franks hearing (Court File No. 622) will be DENIED.



I.      RELEVANT FACTS

        The Court incorporates those portions of the magistrate judge’s recitation of the facts to

which objections have not been made, and only recounts the facts underlying the issues addressed

in this Memorandum.

        On September 14, 2009, Special Agent Mark Delaney (“Agent Delaney”) of the Tennessee

Bureau of Investigation (“TBI”) applied for and received a state search warrant to search

Defendant’s residence, located at 1505 Hotwater Road, Soddy Daisy, Tennessee. Agent Delaney




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presented an affidavit in support of his application to the issuing judge which states in relevant part:

               During the course of this investigation, your affiant received
               information from ATF Task Force Officer Chad Johnson that he had
               debriefed a cooperating source, hereinafter referred to as CS,
               regarding their involvement in the methamphetamine business. As a
               result of this debriefing, TFO Johnson learned that the CS has
               purchased large quantities of pseudoephedrine over an extended
               period of time which was sold or traded to Glenn R. Skiles for
               Methamphetamine. To corroborate this information, a check of the
               TMIS (Tennessee Methamphetamine Information System) database
               which is maintained by the Tennessee Methamphetamine Task Force
               revealed that the CS has purchased at least 65.52 grams of
               pseudoephedrine since mid 2006. The CS also admitted having
               purchased approximately 75 pounds of iodine to be used to
               manufacture methamphetamine from an iodine source which was
               provided to Glenn R. Skiles by the CS to allow Skiles to manufacture
               methamphetamine. According to the CS, Glenn Skiles has numerous
               individuals providing him with pseudoephedrine to be used to
               manufacture methamphetamine with and that he (Skiles) never
               purchases the pseudoephedrine himself. This information was also
               corroborated by conducting a check of the TMIS Database. This
               check revealed that Glenn R. Skiles is not listed in the database as
               having ever purchased pseudoephedrine products.
               According to information provided by the CS to TFO Johnson, the
               CS has been present on numerous occasions when Glenn R. Skiles
               has manufactured methamphetamine in the basement of a residence
               which is located on Hotwater Road Soddy Daisy, Tennessee.
               Within the past 72 hours a controlled purchase of methamphetamine
               was made from Glenn R. Skiles at his residence which is located at
               1505 Hotwater Road Soddy Daisy, Tennessee. During this purchase,
               a Confidential Informant (CI) was utilized. Prior to this purchase, the
               CI and their vehicle was searched for contraband with negative
               results. The CI was also provided with pre-recorded TBI Confidential
               Funds (IE39479961A) to be utilized during the purchase. The CI was
               also fitted with a covert transmitting device and a digital recorder so
               that all conversations with Glenn R. Skiles could be monitored and
               recorded. The CI was followed by surveillance units to 1505
               Hotwater Road Soddy Daisy, Tennessee where your affiant
               personally observed the CI walking up the driveway to the residence.
               Your affiant also overheard a conversation involving the CI that
               appeared to be narcotics related. Upon completion of this transaction,
               your affiant followed the CI from 1505 Hotwater Road Soddy Daisy,
               Tennessee to an undisclosed location where the CI provided your

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                affiant with a clear plastic wrapper which was represented to the CI
                by Glenn R. Skiles to be methamphetamine.

(Court File No. 622-1). On or about September 15, 2009, agents executed the search warrant for

1505 Hotwater Road.



II.      STANDARD OF REVIEW

         This Court must conduct a de novo review of those portions of the report and

recommendation to which objection is made and may accept, reject, or modify, in whole or in part,

the magistrate judge’s findings or recommendations. 28 U.S.C. § 636(b)(1)(C). The Court has

“broad discretion” in conducting a de novo determination and is not required to rehear any contested

testimony. United States v. Raddatz, 447 U.S. 667, 674, 681 (1980). “Congress intended to permit

whatever reliance a district judge, in the exercise of sound judicial discretion, chose to place on the

magistrate’s proposed findings and recommendations.” Id. at 676.



III.     DISCUSSION

         Defendant first objects to the R&R’s recommendation that his request for a Franks hearing

be denied (Court File 692). Specifically, Defendant argues the R&R “merely adopts the responsive

arguments made by the government in its cursory filing,” and the R&R “does not fully address the

significance of the omissions relating to the alleged undercover ‘buy’” (id. at 2, 4). Defendant also

objects to the finding Defendant’s motion to suppress should be denied on the basis the affidavit

lacks probable cause. For the purpose of clarity, the Court will consider the second objection first.

         A.     Motion to Suppress Fruits of the Search

         Defendant contends the search warrant authorizing a search of his residence is deficient

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because the information provided within the four corners of the search warrant affidavit lacks

probable cause. The Fourth Amendment requires probable cause in order for a search warrant to be

issued. U.S. Const. amend. IV; United States v. Thomas, 605 F.3d 300, 306 (6th Cir. 2010). In

determining whether there is probable cause, the issuing court should “make a practical, common-

sense decision whether . . . there is a fair probability [] contraband or evidence of a crime will be

found in a particular place.” United States v. Lapsins, 570 F.3d 758, 763-64 (6th Cir. 2009); United

States v. Sneed, No. 09-3215, 2010 WL 2836334, *4 (6th Cir. July 19, 2010). Where the warrant

lacks probable cause, evidence obtained from the search must be suppressed unless it meets the

requirements of the good faith exception. United States v. McPhearson, 469 F.3d 518, 523 (6th Cir.

2006); see generally United States v. Leon, 468 U.S. 897 (1984). Defendant challenges the search

warrant affidavit on the basis it fails to establish reliability, timing, and nexus as to the information

provided by an unnamed cooperating informant. However, this Court notes each of these factors

should be weighed together to determine whether “they form a substantial basis for finding probable

cause.” United States v. Shamaeizadeh, 80 F.3d 1131, 1137 (6th Cir. 1996).

                1.      Reliability

        When an affidavit, which provides the basis for a probable cause determination, presents

information from a confidential source or informant, the court “must consider the veracity,

reliability, and basis of knowledge for th[e] information as part of the totality-of-the-circumstances

review.” Thomas, 605 F.3d at 306. In addition, the affidavit must state facts which support an

independent basis for determining whether the informant is reliable. United States v. McCraven,

401 F.3d 693, 697 (6th Cir. 2005). Such facts could take a number of forms including, but not

limited to, details of police corroboration of the informant’s story, statements that the informant


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provided reliable information in the past, or “description[s] of what the informant observed first-

hand.” Id.

        Defendant argues the search warrant affidavit lacks “many of the traditional reliability

markers” because it does not provide any informant’s name; it fails to establish whether the affiant

knew the identity of the informant or informants; and there is no evidence either of the informants,

if not the same person, provided reliable information to officers in the past (Court File No. 623 at

9; 692 at 6-7). In addition, Defendant focuses on the fact the search warrant affidavit neglects to

“report any police effort to corroborate the manufacturing of methamphetamine” by Defendant

(Court File No. 692 at 6).

        The Court acknowledges the affidavit lacks certain indicia of reliability for a number of

reasons. First, the affiant failed to attest to the informant’s reliability in any manner in the affidavit.

See United States v. Higgins, 557 F.3d 381, 390 (6th Cir. 2009). In addition, the check of the

Tennessee Methamphetamine Information System (TMIS) did little to corroborate the cooperating

source’s (“CS”) assertion he and others have purchased large quantities of pseudoephedrine over

an extended period of time for the purpose of assisting Defendant in manufacturing

methamphetamine (Court File No. 622-1). In fact, the affiant states a check of TMIS revealed

Defendant is not listed in the database as having ever purchased pseudoephedrine (id.).

        Nevertheless, the affiant provides he personally observed the confidential informant (“CI”)

walking up the driveway of Defendant’s residence, overheard a conversation involving the CI that

appeared to be narcotics related, and followed the CI from Defendant’s residence to an undisclosed

location where Defendant reportedly gave the CI a clear plastic wrapper containing

methamphetamine. Significantly, the CI was fitted with a digital recorder so that all of the


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conversations between him and Defendant were recorded (id.). This information regarding the

undercover “buy” corroborated other information in the affidavit, at least to the extent Defendant

was alleged to have any involvement in the manufacture of methamphetamine.

               2.      Timing and Nexus

       Defendant also argues the affidavit fails to establish a nexus between Defendant’s residence

and the suspected criminal activity, and he argues the affidavit fails to establish temporal relevance

of the information provided (Court File No. 692). When a search warrant authorizes a search of a

particular location, the affidavit accompanying the application must establish “a significant ‘nexus

between the place to be searched and the evidence to be sought.’” Sneed, 201 WL 2836334, at * 5

(quoting United States v. Brooks, 594 F.3d 488, 492 (6th Cir. 2010)). The information in the

affidavit must also not be “stale.” Brooks, 594 F. 3d at 492.

       Here, Defendant argues the timing of the informant’s alleged observations of Defendant is

unknown. However, a temporal connection was established in the affidavit where the affiant states

an undercover “buy” took place within 72 hours of the date the affidavit was presented to the issuing

judge (Court File No. 622-1). Most importantly, according to the affidavit, the CI reported

Defendant gave him a substance which Defendant represented to be methamphetamine after they

left Defendant’s home. This information is enough to determine the affidavit established a nexus

between Defendant’s residence and evidence of methamphetamine manufacturing. Therefore, the

Court agrees with the findings of the R&R and concludes the affidavit set forth sufficient

information to establish probable cause.

       B.      Franks Hearing

       Defendant also objects to the magistrate judge’s recommendation that Defendant’s request


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for a Franks hearing should be denied. Defendant argues even if the affidavit stands on the basis

of the information found within its four corners, the affiant made deliberate and material omissions

that would have prevented a finding of probable cause (Court File No. 692). Franks v. Delaware,

438 U.S. 154 (1978), mandates a court “hold a hearing as to the sufficiency of the affidavit if the

defendant can make a substantial preliminary showing [] a false statement necessary to the finding

of probable cause was made knowingly or intentionally or with reckless disregard for the truth and

was included in the affidavit.” Thomas, 605 F.3d at 309. Where a defendant alleges material

omissions in the affidavit as in this case, however, he is entitled to a Franks hearing only if (1) he

can make a “substantial preliminary showing [] the affiant engaged in deliberate falsehood or

reckless disregard for the truth in omitting information from the affidavit”; and (2) the court would

not have otherwise made a finding of probable cause. United States v. Fowler, 535 F.3d 408, 415

(6th Cir. 2008); United States v. Merrell, 330 F. App’x 556, 560 (6th Cir. 2009) (explaining

Defendant must first make a “threshold showing of ‘deliberate falsehood’ or ‘reckless disregard for

the truth’; then the Court will determine probable cause). The standard is higher in the case of an

omission because an affidavit is normally “judged on the adequacy of what it [] contain[s], not on

what it lacks.” United States v. Allen, 211 F.2d 970, 975 (6th Cir. 2000); see United States v.

Martin, 920 F.2d 393, 398 (6th Cir. 1990) (explaining the “inclusion of false information . . . is more

likely to present a question of impermissible official conduct than a failure to include a matter . . .”);

United States v. Khami, 362 F. App’x 501, 505-6 (6th Cir. 2010).

                1.      “Deliberate Falsehood” or “Reckless Disregard for the Truth”

        As a preliminary matter, Defendant must identify specific omissions and make “an offer of

proof” regarding those omissions. Franks, 438 U.S. at 171; United States v. Bennett, 905 F.2d 931,


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934 (6th Cir. 1990) (stating defendant should “provide supporting affidavits or explain their

absence”). Then Defendant bears the burden of proving those omissions were made intentionally

or with reckless disregard for the truth. “Bare assertions of possibilities . . . [are] not enough to

warrant a Franks hearing.” United States v. Martin, 526 F.3d 926, 937 (6th Cir. 2008). In addition,

“except in the very rare case where the defendant makes a strong preliminary showing . . ., Frank

. . . is inapplicable to the omission of disputed facts.” Mays v. City of Dayton, 134 F.3d 809, 816 (6th

Cir. 1998).

         Here, Defendant identified a number of alleged “deliberate omissions” in his memorandum

of law supporting the motion to suppress (Court File No. 623). Of importance, Defendant contends

the affiant (1) failed to notify the issuing court the person who Defendant believes was the CS was

incarcerated when he was debriefed and made incriminating statements against Defendant; (2) failed

to notify the court the alleged CS was arrested and charged with manufacturing and trafficking

methamphetamine; (3) failed to mention the alleged CS had a history of providing unreliable

information to law enforcement; and (4) this CS previously identified the person manufacturing

methamphetamine in the laboratory at the CS’s residence as someone other than Defendant (Court

File Nos. 623 at 14). To support these assertions, Defendant offers as proof two reports from the

Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) on statements provided by an

individual named Charles Hart (“Hart”), who Defendant believes was the CS (Court File No. 622-2,

3).

         In regards to the undercover “buy,” Defendant argues the affidavit (1) did not inform the

issuing court the CI used for the “buy” was the same person as the CS; (2) failed to mention the CI

was accompanied by some additional unnamed individual who may or may not have been searched;


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(3) failed to note whether the recorded conversation contained a discussion of manufacturing or

trafficking methamphetamine and whether any of the pre-recorded TBI Confidential Funds changed

hands; and (4) did not mention Defendant repeatedly told the informant he had no methamphetamine

for sale (Court File No. 623 at 15). In his memorandum of law, Defendant references “Exhibit D”

as evidence Hart was also the CI (Court File No. 623 at 5). However, Defendant failed to provide

the Court a copy of “Exhibit D,” and he has not offered any evidence supporting these conclusions

with an exception of number three (3). Therefore, the Court finds Defendant cannot make a

preliminary showing that the first, second, and fourth omissions were made by the affiant in regards

to the undercover buy.

       Nevertheless, regarding the remaining omissions, the government fails to deny (1) Defendant

correctly determined the identity of the government’s CS/CI and (2) Agent Delaney made material

omissions (Court File No. 657). Rather, the government argues “none of these identified omissions

alters the fact . . . that close to the date of the search warrant the defendant distributed

methamphetamine at the residence to be searched” (Court File No. 657 at 4). Although there is no

evidence Agent Delaney intended to mislead the issuing judge, the Court will still consider whether

the issuing judge would have made a finding of probable cause with the inclusion of these alleged

omissions.

               2.      Probable Cause

       Indeed, if the Court were to review the affidavit with the omitted information, it would find

the search warrant was supported by probable cause. The alleged omissions regarding the CS are

not at all inconsistent with the information provided in the affidavit. For example, the fact the

affiant failed to notify the issuing court the CS was engaged in criminal activities, specifically the


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manufacture of methamphetamine, is of little relevance. See Fowler, 535 F.3d at 416. It is clear

from the affidavit the CS was involved in illegal activities due to his or her alleged involvement with

Defendant (see Court File No. 622-1). As to the undercover buy, the affiant was clear he did not

personally observe a “buy”; rather, he overheard a conversation that appeared to be narcotics related,

and he was presented with a clear plastic wrapper from the CI who stated Defendant told him it was

methamphetamine. Here, the Court finds these purported omissions are not enough to entitle

Defendant to a Franks hearing. Otherwise, the Court would potentially “open [] officers to endless

conjecture about investigative leads, fragments of information, or other matter that might have

redounded to defendant’s benefit.” United States v. Martin, 9 F.2d 393, 398 (6th Cir. 1990) (quoting

United States v. Colkley, 899 F.2d 297, 301 (4th Cir. 1990)).



IV.    CONCLUSION

       For the above stated reasons, the Court will ACCEPT and ADOPT the Report and

Recommendation (Court File No. 675) and will DENY Defendant’s motion to suppress and request

for a Franks hearing (Court File No. 622).

       An Order shall enter.



                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE




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